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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



 ___________________________________
                                               )
                                               )
      Rodney Lail, et al.,                     )
                                               )
             Plaintiffs,                       )
                                               )     C.A. No. 10-CV-210-PLF
                    v.                         )
                                               )
      United States Government, et al.,        )
                                               )
                                               )
             Defendants.                       )
                                               )
                                               )
                                               )


           PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
          DEFENDANT ROBERT E. LEE’S MOTION TO DISMISS
                         (DOCUMENT 40)

      Pro Se plaintiffs in the above caption case hereby file their brief in

Opposition to defendant Robert E. Lee’s Motion to Dismiss. (Doc. 40.) The motion

must be denied as (1) this Court has personal jurisdiction over defendant Lee and

(2) the venue is proper in this Court, as set forth below in detail:




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                               I.    Statement of Facts.

      The plaintiffs have carefully reviewed defendant Lee’s colorful

misrepresentations and cherry picked facts with slanted interpretations Lee has

provided this Court in the Statement of Facts in his Motion to Dismiss (Document

No. 40).

      First and foremost, none of the causes of actions in the above captioned case

in this Court have been litigated in any court despite Lee’s distortion in his

Statement of Facts nor has any plaintiff in this case been a party in a case involving

the defendants as parties in a legal action with these facts and causes of action.

      The Plaintiffs disagree with the tenor of Lee’s Statement of Facts and state

the Plaintiffs stand by their second amended complaint and every point within the

second amended complaint. Lee’s attempt to confuse the Court is nothing but an

attempt to join litigated and non-litigated matters and undermine what the Plaintiffs

will show is the factual truth of a civil conspiracy with the hub in Washington, DC.

Lee has knowingly participating in conspiratorial acts which took place with the

hub of the conspiracy geographically, managerially and functionally located in

Washington, DC where the key overt acts were orchestrated and many of the overt

acts took place.




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            II. The Court Must Accept Plaintiffs’ Allegations As True.

      Contrary to defendant Lee’s arguments in the motion to dismiss, the Court

must accept as true all the factual allegations in the Complaint when ruling on a

motion to dismiss. In Ashcroft v. Iqbal the Supreme Court found that “[t]o survive

a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to state a claim of relief that is plausible on its face.” Ashcroft v. Iqbal, 129

S.Ct. 1937, 1949 (U.S. 2009).

      See also, Leatherman v. Tarrant County Narcotics Intelligence and

Coordination Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.ED.2d 517 (1993); United

States v. Gaubert, 499 U.S. 315, 327, 111 S.Ct. 1267, 1276, 113 L.Ed.2d 335

(1991).

          III. This Court Has Personal Jurisdiction Over Defendant Lee.

      The Washington, D.C. Circuit Court made the criteria clear to establish

personal jurisdiction in a civil conspiracy in Manook v. Research Triangle where

the court established:

      For conspiracy jurisdiction within the District of Columbia, the
      plaintiff must allege: (1) the existence of a civil conspiracy; (2) the
      defendant’s participation in the conspiracy; and (3) an overt act by a
      coconspirator within the forum, subject to the long-arm statute, and in
      furtherance of the conspiracy. More importantly, a plaintiff seeking to
      meet its burden of demonstrating that a court may exercise jurisdiction
      over foreign defendants under a conspiracy theory must present a
      particularized pleading of the conspiracy as well as the overt acts
      within the forum taken in furtherance of the conspiracy.


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Estate of Manook v. Research Trinangle Inst. Int’l, 693 F.Supp. 2d 4, 18-19

(D.D.C. 2010).

      First, the complaint makes clear the existence of a civil conspiracy and

defendant Lee’s participation in said conspiracy. Beginning in ¶ 121 of the

Complaint, Lee’s known role in the conspiracy is outlined. Lee participated in

concert with law enforcement officials in destroying video evidence and

fabricating documentary evidence. (Plaintiffs’ Complaint ¶¶ 121, 125.) The

plaintiffs have alleged that defendant Lee, as well as other residents of South

Carolina, Virginia, West Virginia, North Carolina and Washington, DC engaged in

a civil conspiracy to deprive plaintiffs of their property and their constitutional

rights. Consequently, as plaintiffs have alleged the existence of the conspiracy and

the defendant Lee’s participation in that conspiracy, prongs one and two of the

Manook test are satisfied and the plaintiffs’ claims are plausible.

      Furthermore, the Complaint states in detail several of the actions taken in

Washington, D.C., which plaintiffs contend was the hub of the conspiracy with the

FBI at the vortex of the cover-up. These actions include, but are not limited to, the

FBI’s submission of fraudulent NCIC reports to the Senate Judiciary Committee.

(See Complaint ¶ ¶ 117-120.) A second example of the numerous acts conducted

within the forum was the use of national security to hide incriminating documents




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to subvert the constitutional rights of the plaintiffs. (See Complaint ¶ ¶ 123, 140,

and 236.)

      Additionally, all records of the actions taken by the central perpetrators and

the agents employees of the FBI are kept in Washington and such records were

concealed from plaintiffs by the actions of the FBI in Washington, D.C. As a

coconspirator, defendant Lee is held responsible for all of the actions of the

conspiracy. Therefore, the third prong of the Manook test is satisfied. These

allegations are sufficient to confer on this Court personal jurisdiction over

defendant Lee in these plausible claims.

      It is premature to have Lee dismissed from this lawsuit until discovery is

conducted to determine the extent of his role in this conspiracy.

                    IV. Additional Case Law Considerations:

      South Carolina decisions also support the contention that the proper

jurisdiction would be the D.C. District Court. A plaintiff must only make a prima

facie showing that the court has jurisdiction over the defendant for the civil action

to continue, and allegations in the complaint to this effect are normally sufficient to

warrant exercise of jurisdiction. Brown v. Investment Management and Research,

Inc., 475 S.E.2d 754 (1996). The court must take as true the allegations of the non-

moving party and resolve all factual disputes in the non-movants’ favor. Id. at 756.

Whenever a plaintiff alleges a civil conspiracy perpetrated by both residents of a


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state and nonresidents, there is personal jurisdiction over the nonresidents as long

as some of the actions of the conspiracy occurred within the state. Hammond v.

Butlert, Means, Evans, & Brown, 388 S.E.2d 796, cert. denied, 498 U.S. 952, 111

S. Ct. 373, 112 L.Ed.2d. 335 (1990).

               V. This Court Has Supplemental Jurisdiction Over
                         Plaintiffs’ State Law Claims.

      Along with the federal claims for violation of the plaintiffs’ civil rights,

plaintiffs have alleged various state law claims against defendants, including

defendant Lee. Federal courts have supplemental jurisdiction over any state law

claims, which form part of the same case or controversy. 28 U.S.C. § 1367. The

central concern in deciding whether to assert supplemental jurisdiction over state

law claims is the burden on the parties and the judicial system if the state law

claims are not retained and the plaintiffs are forced to file several suits in several

jurisdictions. United Mine Workers of America v. Gibbs, 383 U.S. 715, 86 S.Ct.

1130 (1996).

      In the present case, all of the plaintiffs’ claims alleged in the Complaint are

related to a conspiracy emanating from the FBI in Washington, D.C., and

involving FBI personnel who report to FBI Headquarters in Washington D.C.,

assigned by FBI Headquarters to duty in West Virginia, Virginia, North Carolina

and South Carolina and other individuals and entities in which the defendants

engaged in a pattern of harassment, extortion, racketeering and oppression, in an
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attempt to discredit the plaintiffs and to a cover-up of crimes related to taking

control of their business and denying plaintiffs constitutionally guaranteed rights. It

would be extremely burdensome and cost prohibitive to break apart all of the

various claims and require the plaintiffs to pursue this litigation piecemeal in

various state courts in West Virginia, Virginia, South Carolina, North Carolina and

Washington, D.C. The more judicially efficient plan for all parties involved is to

have all of these claims adjudicated at one time to reduce the costs and burdens on

the parties and to ensure a consistent result.

      This Court clearly has the discretion to exercise supplemental jurisdiction

over plaintiffs’ state law claims and should do so in this case to promote judicial

economy and efficiency, and to reduce the burden and costs on all parties.




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